   Case 24-21542-JKS               Doc 55 Filed 03/28/25 Entered 03/29/25 00:13:18                               Desc Imaged
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Form 170 − ntchrgdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 24−21542−JKS
                                         Chapter: 7
                                         Judge: John K. Sherwood

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   DIA Investment Group LLC
   1401 44ht Street
   North Bergen, NJ 07047
Social Security No.:

Employer's Tax I.D. No.:
  84−3979533

                               NOTICE OF HEARING ON DISMISSAL OF CASE



Notice is hereby given that:

      A Motion to Dismiss has been filed by John W. Sywilok, Chapter 7 Trustee.

      An Order to Show Cause Why the Case Should Not be Dismissed concerning the issue highlighted below has
been entered by the Court.

          The debtor has not complied with the credit counseling requirements of the Bankruptcy Code.

          The debtor is a corporation and has filed under Chapter 13 of the Bankruptcy code.

          The corporate debtor is self−represented.

          Other: .

A hearing to determine if there is cause for dismissal will be held by the Honorable John K. Sherwood on,

Date: 4/29/25
Time: 10:00 AM
Location: Courtroom 3D, Martin Luther King, Jr. Federal Building, 50 Walnut Street, Courtroom 3D, Newark, NJ
07102




Dated: March 26, 2025
JAN:

                                                                     Jeanne Naughton
                                                                     Clerk
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 24-21542-JKS
DIA Investment Group LLC                                                                                               Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Mar 26, 2025                                               Form ID: 170                                                              Total Noticed: 16
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 28, 2025:
Recip ID                 Recipient Name and Address
db                     + DIA Investment Group LLC, 1401 44ht Street, North Bergen, NJ 07047-2718
cr                     + U.S. Bank National Association, not in its individ, Stern & Eisenberg, PC, 1581 Main Street, Suite 200, Warrington, PA 18976, UNITED
                         STATES 18976-3403
cr                     + U.S. Bank Trust Company, National Association, as, 1581 Main Street, Suite 200, The Shops at Valley Square, Warrington, PA 18976
                         UNITED STATES 18976-3403
520486459              + Abraham Campos, et al. (see attachment for list), 111 Broadway, Suite 1804, New York, NY 10006-0014
520463440              + Besim Kukaj, 1401 44th Street, North Bergen, NJ 07047-2718
520479542              + Saeed Ketabchi, c/o PATRICK O. LACSINA LAW OFFICES, 215 N. 5th Street, Suite 1, Harrison, NJ 07029-1407
520463442              + Selene Finance as servicer to US Bank, PO Box 71243, Philadelphia, PA 19176-6243

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Mar 26 2025 20:53:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Mar 26 2025 20:53:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
cr                     + Email/Text: ecfbnc@aldridgepite.com
                                                                                        Mar 26 2025 20:53:00      Aldridge Pite, LLP, 3333 Camino del Rio South,
                                                                                                                  Suite 225, San Diego,, CA 92108-3808
520482386                 Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Mar 26 2025 20:53:00      Internal Revenue Service, PO Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
520486458                 Email/Text: Adam@PollockCohen.com
                                                                                        Mar 26 2025 20:53:00      Adam Pollock, 111 Broadway, Suite 1804, New
                                                                                                                  York, NY 10006
520530301              + Email/Text: bkteam@selenefinance.com
                                                                                        Mar 26 2025 20:53:00      U.S. BANK TRUST NATIONAL
                                                                                                                  ASSOCIATION, c/o Selene Finance LP,, 3501
                                                                                                                  Olympus Blvd, Suite 500,, Dallas, TX 75019-6295
520534495                 Email/Text: mtgbk@shellpointmtg.com
                                                                                        Mar 26 2025 20:53:00      U.S. Bank National Association, c/o NewRez LLC
                                                                                                                  d/b/a, P.O. Box 10826, Greenville SC 29603-0826
520488009              + Email/Text: RASEBN@raslg.com
                                                                                        Mar 26 2025 20:53:00      U.S. Bank Trust National Association, Robertson,
                                                                                                                  Anschutz, Schneid, Crane, 13010 Morris Road.,
                                                                                                                  Suite 450, Alpharetta, GA 30004-2001
520463444              ^ MEBN
                                                                                        Mar 26 2025 20:52:03      US Bank National Association, c/o Friedman
                                                                                                                  Vartolo, 1325 Franklin Avenue, Suite 160, Garden
                                                                                                                  City, NY 11530-1631

TOTAL: 9


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
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District/off: 0312-2                                                User: admin                                                         Page 2 of 3
Date Rcvd: Mar 26, 2025                                             Form ID: 170                                                      Total Noticed: 16
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
520463441                     Selene Finance as Servicer for US Bank
520463443                     US Bank
cr              *+            U.S. Bank Trust National Association, Robertson, Anschutz, Schneid, Crane, 13010 Morris Rd., Suite 450, Alpharetta, GA
                              30004-2001

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 28, 2025                                        Signature:          /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 26, 2025 at the address(es) listed
below:
Name                             Email Address
Adam Pollock
                                 on behalf of Creditor Pellumb Katanolli adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Eder Gordillo adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Diego Estrada adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Paulino Carpintero adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Eduardo Yunga adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Cesar Supacela adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Vladimir Yunga adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Milton Quizhpilema adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Segundo Calle adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Bryan Macancela adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Cristian Asitimbay adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Jenaro Campoverde adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Nicolas Zhagnay adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                                 on behalf of Creditor Mario Asitimbay adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
      Case 24-21542-JKS            Doc 55 Filed 03/28/25 Entered 03/29/25 00:13:18                                             Desc Imaged
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District/off: 0312-2                                         User: admin                                                                 Page 3 of 3
Date Rcvd: Mar 26, 2025                                      Form ID: 170                                                              Total Noticed: 16
                          on behalf of Creditor Abraham Campos adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                          on behalf of Creditor Victor Gonzalez adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                          on behalf of Creditor Yoni De Los Santos adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                          on behalf of Creditor Samuel Herrera adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                          on behalf of Creditor Felipe Vega-Loyola adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Adam Pollock
                          on behalf of Creditor Edison Macancela adam@pollockcohen.com adam-pollock-4287@ecf.pacerpro.com

Brett Silverman
                          on behalf of Debtor DIA Investment Group LLC brett@getconciergelaw.com

David Gerardi
                          on behalf of U.S. Trustee U.S. Trustee david.gerardi@usdoj.gov

John Sywilok
                          sywilokattorney@sywilok.com nj26@ecfcbis.com

Kenneth Borger, Jr
                          on behalf of Creditor Selene Finance LP as Attorney in Fact for U.S. Bank Trust National Association not in its Individual
                          Capacity but Solely as Owner Trustee for RCF 2 Acquisition Trust kborger@raslg.com

Kenneth Borger, Jr
                          on behalf of Creditor U.S. Bank Trust National Association kborger@raslg.com

Scott S. Rever
                          on behalf of Trustee Scott S. Rever srever@wjslaw.com

Steven Eisenberg
                          on behalf of Creditor U.S. Bank National Association not in its individual capacity, but solely as owner trustee of the New
                          Residential Mortgage Loan Trust 2021-NQM2R bkecf@sterneisenberg.com,
                          jmcnally@sterneisenberg.com;skelly@sterneisenberg.com;bkecf@sterneisenberg.com

Steven Eisenberg
                          on behalf of Creditor U.S. Bank Trust Company National Association, as Trustee for Velocity Commercial Capital Loan Trust
                          2024-1 bkecf@sterneisenberg.com, jmcnally@sterneisenberg.com;skelly@sterneisenberg.com;bkecf@sterneisenberg.com

Steven P. Kelly
                          on behalf of Creditor U.S. Bank National Association not in its individual capacity, but solely as owner trustee of the New
                          Residential Mortgage Loan Trust 2021-NQM2R skelly@sterneisenberg.com, bkecf@sterneisenberg.com

Steven P. Kelly
                          on behalf of Creditor U.S. Bank Trust Company National Association, as Trustee for Velocity Commercial Capital Loan Trust
                          2024-1 skelly@sterneisenberg.com, bkecf@sterneisenberg.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov

United States Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 32
